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                    Exhibit 22
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BrokerCheck Report
JEFFREY STEVEN GRAY
CRD# 1758815




Section Title                              Page(s)
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  i     When communicating online or investing with any professional, make sure you know who you're dealing with. Imposters might link to sites like BrokerCheck
        from phishing or similar scam websites, or through social media, trying to steal your personal information or your money.
        Please contact FINRA with any concerns.
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About BrokerCheck®

BrokerCheck offers information on all current, and many former, registered securities brokers, and all current and former
registered securities firms. FINRA strongly encourages investors to use BrokerCheck to check the background of
securities brokers and brokerage firms before deciding to conduct, or continue to conduct, business with them.
    ·   What is included in a BrokerCheck report?
    ·            BrokerCheck reports for individual brokers include information such as employment history, professional
        qualifications, disciplinary actions, criminal convictions, civil judgments and arbitration awards. BrokerCheck
        reports for brokerage firms include information on a firm’s profile, history, and operations, as well as many of the   Using this site/information means
        same disclosure events mentioned above.                                                                                that you accept the FINRA
    ·            Please note that the information contained in a BrokerCheck report may include pending actions or             BrokerCheck Terms and
        allegations that may be contested, unresolved or unproven. In the end, these actions or allegations may be             Conditions. A complete list of
        resolved in favor of the broker or brokerage firm, or concluded through a negotiated settlement with no admission      Terms and Conditions can be
        or finding of wrongdoing.                                                                                              found at
    ·   Where did this information come from?                                                                                  brokercheck.finra.org
    ·            The information contained in BrokerCheck comes from FINRA’s Central Registration Depository, or
        CRD® and is a combination of:
              o information FINRA and/or the Securities and Exchange Commission (SEC) require brokers and
                                                                                                                               For additional information about
                 brokerage firms to submit as part of the registration and licensing process, and
                                                                                                                               the contents of this report, please
              o information that regulators report regarding disciplinary actions or allegations against firms or brokers.
                                                                                                                               refer to the User Guidance or
    ·   How current is this information?                                                                                       www.finra.org/brokercheck. It
    ·            Generally, active brokerage firms and brokers are required to update their professional and disciplinary      provides a glossary of terms and a
        information in CRD within 30 days. Under most circumstances, information reported by brokerage firms, brokers          list of frequently asked questions,
        and regulators is available in BrokerCheck the next business day.                                                      as well as additional resources.
    ·   What if I want to check the background of an investment adviser firm or investment adviser                             For more information about
        representative?                                                                                                        FINRA, visit www.finra.org.
    ·            To check the background of an investment adviser firm or representative, you can search for the firm or
        individual in BrokerCheck. If your search is successful, click on the link provided to view the available licensing
        and registration information in the SEC's Investment Adviser Public Disclosure (IAPD) website at
        https://www.adviserinfo.sec.gov. In the alternative, you may search the IAPD website directly or contact your state
        securities regulator at http://www.finra.org/Investors/ToolsCalculators/BrokerCheck/P455414.
    ·   Are there other resources I can use to check the background of investment professionals?
    ·            FINRA recommends that you learn as much as possible about an investment professional before deciding
        to work with them. Your state securities regulator can help you research brokers and investment adviser
        representatives doing business in your state.
   ·
Thank you for using FINRA BrokerCheck.
www.finra.org/brokercheck                                                                                                                                               User Guidance
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 JEFFREY S. GRAY                                                  Report Summary for this Broker
 CRD# 1758815
                                                                  This report summary provides an overview of the broker's professional background and conduct. Additional
 This broker is not currently registered.                         information can be found in the detailed report.
                                                                  Broker Qualifications
                                                                  This broker is not currently registered.             Disclosure Events
                                                                                                                       All individuals registered to sell securities or provide
                                                                                                                       investment advice are required to disclose customer
                                                                                                                       complaints and arbitrations, regulatory actions,
                                                                                                                       employment terminations, bankruptcy filings, and
                                                                  This broker has passed:                              criminal or civil judicial proceedings.
                                                                    0 Principal/Supervisory Exams
                                                                                                                        Are there events disclosed about this broker? Yes
                                                                    3 General Industry/Product Exams
                                                                    2 State Securities Law Exams
                                                                                                                       The following types of disclosures have been
                                                                                                                       reported:
                                                                  Registration History
                                                                                                                       Type                        Count
                                                                  This broker was previously registered with the       Customer Dispute              2
                                                                  following securities firm(s):

                                                                  B PNC INVESTMENTS                                    Investment Adviser Representative
                                                                    CRD# 129052                                        Information
                                                                    PITTSBURGH, PA
                                                                    01/2004 - 03/2021                                   The information below represents the individual's
                                                                  B J.J.B. HILLIARD, W.L. LYONS, INC.                   record as a broker. For details on this individual's
                                                                    CRD# 453                                            record as an investment adviser representative,
                                                                    LOUISVILLE, KY                                      visit the SEC's Investment Adviser Public
                                                                    04/1999 - 01/2004                                   Disclosure website at
                                                                  B PNC BROKERAGE CORP                                              https://www.adviserinfo.sec.gov
                                                                    CRD# 34671
                                                                    PITTSBURGH, PA
                                                                    12/1994 - 04/1999




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Broker Qualifications


 Registrations
 This section provides the self-regulatory organizations (SROs) and U.S. states/territories the broker is currently registered and licensed with, the
 category of each license, and the date on which it became effective. This section also provides, for every brokerage firm with which the broker is
 currently employed, the address of each branch where the broker works.
 This broker is not currently registered.




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Broker Qualifications


 Industry Exams this Broker has Passed
  This section includes all securities industry exams that the broker has passed. Under limited circumstances, a broker may attain a registration
  after receiving an exam waiver based on exams the broker has passed and/or qualifying work experience. Any exam waivers that the broker has
  received are not included below. A passed exam or exam waiver does not permit a broker to do business without an active SRO or state
  registration.
  This individual has passed 0 principal/supervisory exams, 3 general industry/product exams, and 2 state securities law exams.


  Principal/Supervisory Exams
  Exam                                                                                 Category                                   Date
            No information reported.


  General Industry/Product Exams
  Exam                                                                                 Category                                   Date
   B        Securities Industry Essentials Examination                                 SIE                                        10/01/2018

   B        General Securities Representative Examination                              Series 7                                   05/20/1989

   B        Investment Company Products/Variable Contracts Representative              Series 6                                   07/25/1988
            Examination


  State Securities Law Exams
  Exam                                                                                 Category                                   Date
  IA        Uniform Investment Adviser Law Examination                                 Series 65                                  07/13/2004

   B        Uniform Securities Agent State Law Examination                             Series 63                                  06/19/1989


  Additional information about the above exams or other exams FINRA administers to brokers and other securities professionals can be found at
  www.finra.org/brokerqualifications/registeredrep/.




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Broker Qualifications


Professional Designations


This section details that the representative has reported 0 professional designation(s).

No information reported.




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 Registration and Employment History


 Registration History
 The broker previously was registered with the following firms:

  Registration Dates                   Firm Name                                          CRD#                   Branch Location
  B      01/2004 - 03/2021             PNC INVESTMENTS                                    129052                 PITTSBURGH, PA

  B      04/1999 - 01/2004             J.J.B. HILLIARD, W.L. LYONS, INC.                  453                    LOUISVILLE, KY

  B      12/1994 - 04/1999             PNC BROKERAGE CORP                                 34671                  PITTSBURGH, PA

  B      11/1992 - 12/1994             PNC SECURITIES CORP                                15647                  PITTSBURGH, PA

  B      05/1989 - 04/1991             MERRILL LYNCH, PIERCE, FENNER &                    7691                   NEW YORK, NY
                                       SMITH INCORPORATED
  B      07/1988 - 03/1989             FEDERATED SECURITIES CORP.                         5009

 Employment History
 This section provides up to 10 years of an individual broker's employment history as reported by the individual broker on the most recently filed
 Form U4.

 Please note that the broker is required to provide this information only while registered with FINRA or a national securities exchange
 and the information is not updated via Form U4 after the broker ceases to be registered. Therefore, an employment end date of
 "Present" may not reflect the broker's current employment status.

  Employment                Employer Name                              Position                   Investment Related Employer Location
  01/2004 - Present         PNC INVESTMENTS                            SR. FC                     Y                      PITTSBURGH, PA, United
                                                                                                                         States

 Other Business Activities
 This section includes information, if any, as provided by the broker regarding other business activities the broker is currently engaged in either as
 a proprietor, partner, officer, director, employee, trustee, agent or otherwise. This section does not include non-investment related activity that is
 exclusively charitable, civic, religious or fraternal and is recognized as tax exempt.

 1. PASSIVE OUTSIDE BUSINESS INTERESTS .... I CONTRIBUTED 25,000 TO ESTABLISH AN LLC FOR A FAMILY MEMBER BUT REMAIN A
 MINORITY PASSIVE MEMBER. THE LLC IS AN E-COMMERCE JEWELRY COMPANY. 95% OF THE COMMERCE IS NON-PERSONAL AND
 WEB-BASED, THE OTHER 5% OF COMMERCE IS EXPECTED TO DERIVE FROM TRADE SHOWS AND VENDING OF WHICH I WILL NOT
 PARTICIPATE PERSONALLY. THE SITE IS EXPECTED TO LAUNCH LABOR DAY WEEKEND: WWW.TRULUXE.COM. 2. CRUMP LIFE
 INSURANCE, 4135 NORTH FRONT STREET, HARRISBURG, PA 17110. LIFE, LONG TERM CARE AND DISABILITY INSURANCE SALES
 AND MARKETING AGENT. NUMBER OF HOURS PER MONTH WILL VARY. SALES OF VARIABLE AND TRADITIONAL LIFE INSURANCE,
 LONG-TERM CARE AND DISABILITY INSURANCE TO PNC INVESTMENTS' CUSTOMERS. THERE IS AN AGREEMENT BETWEEN CRUMP
 AND PNC INSURANCE SERVICES, LLC.
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 3. AirBnb of personal residence.
 1. PASSIVE OUTSIDE BUSINESS INTERESTS .... I CONTRIBUTED 25,000 TO ESTABLISH AN LLC FOR A FAMILY MEMBER BUT REMAIN A
 MINORITY PASSIVE MEMBER. THE LLC IS AN E-COMMERCE JEWELRY COMPANY. 95% OF THE COMMERCE IS NON-PERSONAL AND
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 WEB-BASED, THE OTHER 5% OF COMMERCE   Case 2:24-cv-01608-WSS      Document
                                                   IS EXPECTED TO DERIVE FROM37-26   Filed 02/14/25
                                                                              TRADE SHOWS             Page
                                                                                            AND VENDING    9 of 13I WILL NOT
                                                                                                        OF WHICH
 PARTICIPATE PERSONALLY.
 Registration                      THE SITE History
                      and Employment         IS EXPECTED TO LAUNCH LABOR DAY WEEKEND: WWW.TRULUXE.COM. 2. CRUMP LIFE
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 AND MARKETING AGENT. NUMBER OF HOURS PER MONTH WILL VARY. SALES OF VARIABLE AND TRADITIONAL LIFE INSURANCE,
 LONG-TERM CARE AND DISABILITY INSURANCE TO PNC INVESTMENTS' CUSTOMERS. THERE IS AN AGREEMENT BETWEEN CRUMP
 Other
 AND PNC   Business
               INSURANCE  Activities,
                             SERVICES,continued
                                        LLC.

 3. AirBnb of personal residence.




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 Disclosure Events


 What you should know about reported disclosure events:

      1. All individuals registered to sell securities or provide investment advice are required to disclose customer complaints and arbitrations,
         regulatory actions, employment terminations, bankruptcy filings, and criminal or civil judicial proceedings.

      2. Certain thresholds must be met before an event is reported to CRD, for example:
              o A law enforcement agency must file formal charges before a broker is required to disclose a particular criminal event.
              o A customer dispute must involve allegations that a broker engaged in activity that violates certain rules or conduct governing the
                 industry and that the activity resulted in damages of at least $5,000.
              o
      3. Disclosure events in BrokerCheck reports come from different sources:
              o As mentioned at the beginning of this report, information contained in BrokerCheck comes from brokers, brokerage firms and
                 regulators. When more than one of these sources reports information for the same disclosure event, all versions of the event will
                 appear in the BrokerCheck report. The different versions will be separated by a solid line with the reporting source labeled.
              o
      4. There are different statuses and dispositions for disclosure events:
              o A disclosure event may have a status of pending, on appeal, or final.
                     § A "pending" event involves allegations that have not been proven or formally adjudicated.
                     § An event that is "on appeal" involves allegations that have been adjudicated but are currently being appealed.
                     § A "final" event has been concluded and its resolution is not subject to change.
              o A final event generally has a disposition of adjudicated, settled or otherwise resolved.
                     § An "adjudicated" matter includes a disposition by (1) a court of law in a criminal or civil matter, or (2) an administrative
                         panel in an action brought by a regulator that is contested by the party charged with some alleged wrongdoing.
                     § A "settled" matter generally involves an agreement by the parties to resolve the matter. Please note that brokers and
                         brokerage firms may choose to settle customer disputes or regulatory matters for business or other reasons.
                     § A "resolved" matter usually involves no payment to the customer and no finding of wrongdoing on the part of the
                         individual broker. Such matters generally involve customer disputes.


 For your convenience, below is a matrix of the number and status of disclosure events involving this broker. Further information
 regarding these events can be found in the subsequent pages of this report. You also may wish to contact the broker to obtain further
 information regarding these events.


                                                                      Pending                           Final                      On Appeal
    Customer Dispute                                                      0                               2                            N/A




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 Disclosure Event Details
 When evaluating this information, please keep in mind that a discloure event may be pending or involve allegations that are contested and have
 not been resolved or proven. The matter may, in the end, be withdrawn, dismissed, resolved in favor of the broker, or concluded through a
 negotiated settlement for certain business reasons (e.g., to maintain customer relationships or to limit the litigation costs associated with disputing
 the allegations) with no admission or finding of wrongdoing.

 This report provides the information exactly as it was reported to CRD and therefore some of the specific data fields contained in the report may
 be blank if the information was not provided to CRD.



 Customer Dispute - Settled
 This type of disclosure event involves a consumer-initiated, investment-related complaint, arbitration proceeding or civil suit containing allegations
 of sale practice violations against the broker that resulted in a monetary settlement to the customer.
 Disclosure 1 of 1
 Reporting Source:                       Broker
 Employing firm when                     PNC BROKERAGE CORP.
 activities occurred which led
 to the complaint:
 Allegations:                            CUSTOMER ALLEGED THAT TRADES FROM OCTOBER OF 1998 WERE NOT
                                         PLACED IN A TIMELY MANNER.
 Product Type:                           Mutual Fund(s)
 Alleged Damages:                        $14,000.00
 Customer Complaint Information
 Date Complaint Received:               01/01/1999
 Complaint Pending?                     No
 Status:                                Settled
 Status Date:                           06/25/1999
 Settlement Amount:                     $5,481.00
 Individual Contribution                $0.00
 Amount:




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 Customer Dispute - Closed-No Action / Withdrawn / Dismissed / Denied
 This type of disclosure event involves (1) a consumer-initiated, investment-related arbitration or civil suit containing allegations of sales practice
 violations against the individual broker that was dismissed, withdrawn, or denied; or (2) a consumer-initiated, investment-related written complaint
 containing allegations that the broker engaged in sales practice violations resulting in compensatory damages of at least $5,000, forgery, theft, or
 misappropriation, or conversion of funds or securities, which was closed without action, withdrawn, or denied.
 Disclosure 1 of 1
 Reporting Source:                       Broker
 Employing firm when                     PNC INVESTMENTS, LLC.
 activities occurred which led
 to the complaint:
 Allegations:                            CUSTOMER EXPRESSED DISSATISFACTION WITH THE SALES PRACTICES
                                         OF JEFFREY S. GRAY. SPECIFICALLY CUSTOMER ALLEGES FAILURE TO
                                         DISCLOSE FEES AND UNSUITABLE INVESTMENT. COMPLAINT CONVEYED
                                         THROUGH ATTORNEY.
 Product Type:                           Annuity(ies) - Variable
 Alleged Damages:                        $49,261.03
 Customer Complaint Information
 Date Complaint Received:               06/29/2006
 Complaint Pending?                     No
 Status:                                Denied
 Status Date:                           07/25/2006
 Settlement Amount:
 Individual Contribution
 Amount:




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                                                                            End of Report




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